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 4

 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-454-GEB
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     JOSEPH ANDRADE,                                )       Date: March 28, 2014
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Garland E. Burrell, Jr.
                                                    )
14
            Defendant.                              )
                                                    )
15
                                                    )
16
            The parties hereby stipulate the following:
17

18          1. Judgment and sentencing in this matter is presently set for February 14, 2014.
19              Counsel for the parties request the date for judgment and sentencing be continued to
20              March 28, 2014, at 9:00 a.m. Counsel for Mr. Andrade needs additional time to
21              respond to information in the presentence report. Assistant U.S. Attorney Jill Thomas
22              and USPO Scott Storey have been advised of this request and have no objection. The
23              parties requests the Court adopt the following schedule pertaining to the presentence
24              report:
25
                Judgment and Sentencing date:                                       3/28/14
26
                Reply, or Statement of Non-Opposition:                              3/21/14
27

28
                Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the


                                                        1
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               Probation Officer and opposing counsel no later than:         3/14/14
 1

 2             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       3/7/14
 3
               Counsel’s written objections to the Presentence Report
 4
               Shall be delivered to the probation officer and opposing
 5             Counsel no later than:                                        2/28/14

 6

 7
     IT IS SO STIPULATED.
 8

 9

10
     Dated: January 28, 2014                                   /s/ John R. Manning
                                                               JOHN R. MANNING
11                                                             Attorney for Defendant
                                                               Joseph Andrade
12

13
     Dated: January 29, 2014                                   Benjamin B. Wagner
14                                                             United States Attorney
15
                                                        by:    /s/ Jill Thomas
16                                                             JILL THOMAS
                                                               Assistant U.S. Attorney
17
                                                ORDER
18

19          IT IS SO FOUND AND ORDERED.
20   Dated: January 29, 2014

21

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24

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